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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 Midwest Operating Engineers Welfare Fund;              )
 Midwest Operating Engineers Pension Trust Fund;        )
 Operating Engineers Local 150 Apprenticeship           )
 Fund; Local 150 IUOE Vacation Savings Plan;            )
 Midwest     Operating     Engineers     Retirement     )
 Enhancement Fund; Construction Industry Research       )    CIVIL ACTION
 and Service Trust Fund; and International Union of     )
 Operating Engineers, Local 150, AFL-CIO;               )    NO.
                                                        )
                                          Plaintiffs,   )
                v.                                      )
                                                        )
                                                        )
 T-Cat Demolition LLC; a dissolved Illinois LLC         )
                                                        )
                                                        )
                                         Defendant.     )

                                       COMPLAINT

       Plaintiffs, Midwest Operating Engineers Welfare Fund; Midwest Operating Engineers

Pension Trust Fund; Operating Engineers Local 150 Apprenticeship Fund; Local 150 IUOE

Vacation Savings Plan; Midwest Operating Engineers Retirement Enhancement Fund

(collectively “the Funds”), Construction Industry Research and Service Trust Fund (“CRF”); and

International Union of Operating Engineers, Local 150, AFL-CIO ( “Local 150” or “the Union”);

bring this action to collect contributions and dues from Defendant, T-Cat Demolition LLC; a

dissolved Illinois LLC (“T-Cat”).

        COUNT I. SUIT TO COLLECT DELINQUENT CONTRIBUTIONS

                                Facts Common to All Counts

       1.     The Union is an “employee organization” under the Employee Retirement Income

Security Act of 1974 (“ERISA”), 29 U.S.C. § 1002(4); and a “labor organization” under the

Labor Management Relations Act (“LMRA”), 29 U.S.C. § 152(5).
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        2.      Defendant T-Cat Demolition LLC; a dissolved Illinois LLC (“T-Cat”) is an

“employer” within the meaning of ERISA, 29 U.S.C. § 1002(5) and an “employer” within the

meaning of the LMRA, 29 U.S.C. § 152(2). It is a corporation engaged in the construction

industry with its principal office in Franklin Park, Illinois.

        3.      T-Cat identified James R. Trumbull Jr. as its Registered Agent. (Exhibit A).

        4.      On December 1, 2011, T-Cat through James R. Trumbull Jr. signed a

Memorandum of Agreement (attached as Exhibit B) with the Union that adopted the terms of a

collective bargaining agreement and any and all successor agreements (“CBA”) known as the

Excavators, Inc. Heavy, Highway and Underground Agreement (excerpts attached as Exhibit C).

        5.      The CBA and the Agreements and Declarations of Trust (“Trust Agreements”)

incorporated therein require T-Cat to make fringe benefit contributions to the Funds. The Funds

are “employee benefit plans” and/or “plans” within the meaning of ERISA, 29 U.S.C. § 1002 (3).

        6.      The CBA and Trust Agreements specifically require T-Cat to:

        (a)     Submit a monthly report stating the names and number of hours worked
                by every person on whose behalf contributions are required and
                accompany these reports with payment of contributions based on an
                hourly rate identified in the CBA;

        (b)     Compensate the Funds for the additional administrative costs and burdens
                imposed by its delinquency through payment of liquidated damages in the
                amount of ten percent of untimely contributions, or twenty percent of such
                contributions should the Funds be required to file suit;

        (c)     Pay interest to compensate the Funds for the loss of investment income;

        (d)     Make its payroll books and records available to the Funds for the purpose
                of an audit to verify the accuracy of past reporting, and pay any and all
                costs incurred by the Funds in pursuit of an audit where a delinquency in
                the reporting or submission of contributions is identified;

        (e)     Pay the Funds’ reasonable attorneys’ fees and costs incurred in the
                prosecution of any action to collect outstanding reports, delinquent
                contributions, or compliance with an audit request;

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         (f)    Furnish to the Funds a bond in an amount acceptable to the Funds.

         7.     The CBA also requires T-Cat to make contributions to CRF. CRF is a labor

management committee as that term is defined under Section 302(c)(9) of the LMRA, 29 U.S.C.

§ 186 (c)(9). The CBA places the same obligations on T-Cat with respect to CRF as it does the

Funds.

         8.     The CBA further requires T-Cat to deduct administrative dues and contributions

for the International Union of Operating Engineers Political Action Committee (“IUOE PAC”)

from employees’ wages and remit those dues and IUOE PAC contributions to the Union on a

monthly basis utilizing a form remittance report. Where T-Cat does not do so, the Union is

entitled to liquidated damages, attorneys’ fees and any other cost of collection.

         9.     T-Cat has become delinquent in the submission of its reports and contributions

due the Funds, and CRF, and reports, dues, and IUOE PAC contributions due to the Union. As a

result of this delinquency, it owes the Funds contributions, liquidated damages, and interest, and

it owes dues, IUOE PAC contributions and liquidated damages to the Union.

                                     Jurisdiction and Venue

         10.    This Court has jurisdiction over this action pursuant to ERISA, 29 U.S.C.

§§ 1132, 1145 and 28 U.S.C. § 1331, because ERISA is a federal statute.

         11.    Venue is proper in this Court pursuant to Section 502(e)(2) of ERISA, 29 U.S.C.

§1132 (e) (2), because the Funds are administered in Cook County, Illinois.

                                    Allegations of Violations

         12.    ERISA states: “Every employer who is obligated to make contributions to a

multiemployer plan under the terms of the plan or under the terms of a collectively bargained




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agreement shall, to the extent not inconsistent with law, make such contributions in accordance

with the terms and conditions of such plan or such agreement.” 29 U.S.C. § 1145.

       13.    Where an employer fails to submit contribution reports and contributions timely,

ERISA permits the Funds to file suit under ERISA to collect the fringe benefit contributions,

liquidated damages, interest, attorneys’ fees and costs. 29 U.S.C. §1132(g). ERISA also permits

the Funds to seek an injunction that requires submission of outstanding reports so that the Funds

may determine whether additional sums are due to the Funds. Alternatively, the Funds may seek

an audit to establish whether such sums are due, and/or estimate the amounts due.

       14.    T-Cat has violated ERISA and breached the CBA and the Trust Agreements

because it has failed to timely submit its reports and contributions to the Funds, and refused to

pay liquidated damages and interest that has accrued.

       15.    Upon careful review of all records maintained by the Funds, and after application

of any and all partial payments made by T-Cat, there is a total of $82,816.36 known to be due the

Funds from T-Cat, before the assessment of fees and costs, and subject to the possibility that

additional contributions, liquidated damages, and interest will become due while this lawsuit is

pending.

       WHEREFORE, the Funds respectfully request that the Court:

       A.     Enter judgment in favor of the Funds and against T-Cat for all unpaid
              contributions;

       B.     Enjoin T-Cat to perform specifically its obligations to the Funds, including
              submission of the required reports and contributions due thereon to the
              Funds in a timely fashion as required by the plans and by ERISA;

       C.     Enjoin T-Cat at the Fund’s option to submit to an audit of its payroll books
              and records in order to determine whether T-Cat owes additional sums to
              the Funds, and pay the costs of such an audit; or alternatively at the Fund’s
              option require T-Cat to pay any contributions reasonably estimated to be



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                due by the Funds for the period when T-Cat failed and refused to timely
                submit contribution reports;

        D.      Enter judgment against T-Cat and in favor of the Funds for liquidated
                damages, interest, attorneys’ fees and costs associated with all delinquent
                contributions; and

        E.      Provide the Funds with such further relief as may be deemed just and
                equitable by the Court, all at T-Cat ’s cost.

              COUNT II. SUIT TO COLLECT CRF CONTRIBUTIONS

        1-9     CRF re-alleges and incorporates herein by reference paragraphs 1 through 9 of

Count I as if fully stated herein.

                                     Jurisdiction and Venue

        10.     This Court has jurisdiction over this action pursuant to § 301 of the LMRA,

29 U.S.C. § 185 and 28 U.S.C. § 1331.

        11.     Venue is proper in this Court pursuant to 29 U.S.C. § 185(a) because this Court

has jurisdiction over the parties, and CRF’s principal office is located within the geographic

jurisdiction of this Court.

                                     Allegations of Violations

        12.     T-Cat has not submitted all of its contribution reports to CRF. T-Cat has failed to

make timely payment of all contributions pursuant to the CBA, and T-Cat has failed to pay

interest and liquidated damages required by the CBA. Accordingly, T-Cat is in breach of its

obligations to the CRF under the CBA.

        13.     That upon careful review of all records maintained by CRF, and after application

of any and all partial payments made by T-Cat, there is a total of $2624.45 known to be due to

CRF from T-Cat subject to the possibility that additional contributions and liquidated damages

will become due while this lawsuit is pending.

        WHEREFORE, CRF respectfully requests that the Court:

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         A.      Order T-Cat to submit all delinquent monthly contribution reports;

         B.      Enter judgment in favor of CRF and against T-Cat for all unpaid
                 contributions, liquidated damages, interest, CRF’s reasonable attorneys’
                 fees and costs, including any amounts estimated to be due in view of T-
                 Cat’s failure to submit all contribution reports required by the CBA;

         C.      Enjoin T-Cat to perform specifically its obligations to CRF including
                 timely submission of reports and contributions as required by the plans
                 and the CBA; and

         D.      Award CRF such further relief as may be deemed just and equitable by the
                 Court, all at T-Cat’s cost.

COUNT III. SUIT TO COLLECT UNION DUES AND IUOE PAC CONTRIBUTIONS

         1-9.    The Union re-alleges and incorporates herein by reference paragraphs 1 through 9

 of Count I as if fully stated herein.

                                         Jurisdiction and Venue

         10.     This Court has jurisdiction over this action pursuant to § 301 of the LMRA,

 29 U.S.C. § 185 because the Union’s principal office is located within the geographical

 jurisdiction of this court.

         11.     Venue is proper in this Court pursuant to 29 U.S.C. § 185(a) because the Court

 has jurisdiction over the parties and the Union’s principal office is located within the geographic

 jurisdiction of this Court.

                                         Allegations of Violations

         12.     T-Cat has not submitted all of its reports to the Union. T-Cat has failed to make

 timely payment of all dues and IUOE PAC contributions owed to the Union pursuant to the

 CBA. T-Cat is required to pay liquidated damages by the CBA. Accordingly, T-Cat is in breach

 of its obligations to the Union under the CBA.

         13.     That upon careful review of all records maintained by the Union, and after

 application of any and all partial payments made by T-Cat, there is a total of $863.86 known to

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be due to the Union from T-Cat before the assessment of fees and costs subject to the possibility

that additional contributions and liquidated damages will become due while this lawsuit is

pending.

       WHEREFORE, the Union respectfully requests that the Court:

       A.      Order T-Cat to submit all delinquent monthly dues reports;

       B.      Enter judgment in favor of the Union and against T-Cat for all unpaid dues
               and IUOE PAC contributions, liquidated damages, the Union’s reasonable
               attorneys’ fees and costs, including any amounts estimated to be due
               because T-Cat failed to submit all reports required by the CBA;

       C.      Enjoin T-Cat to perform specifically its obligations to the Union including
               timely submission of reports and contributions as required by the CBA;

       D.      Award the Union such further relief as may be deemed just and equitable
               by the Court, all at T-Cat’s cost.

Dated: February 20, 2019                       Respectfully submitted,

                                           By: /s/ Dale D. Pierson
                                               One of the Attorneys for the Plaintiffs

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